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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
LUIS JIMENEZ,                              )
                                          )
                  Petitioner,             )
                                          )
      v.                                  )     Civil Action No. 17-30177-MGM
                                          )
CHRISTOPHER DONELAN et al.,               )
                                          )
                  Respondents.            )
                                           )

                                NOTICE OF APPEARANCE

       Pursuant to L.R. 83.5.2, please enter the appearance of the undersigned Assistant United

States Attorney as counsel for the respondents, in the above-captioned matter.



                                             Respectfully submitted,

                                             ANDY LELLING
                                             United States Attorney

                                     By:     /s/ Jessica P. Driscoll
                                             Jessica P. Driscoll, BBO No. 655394
                                             Assistant United States Attorney
                                             United States Attorney’s Office
                                             John Joseph Moakley U.S. Courthouse
                                             1 Courthouse Way - Suite 9200
                                             Boston, MA 02210
                                             (617) 748-3398
Dated: December 22, 2017                     Jessica.Driscoll@usdoj.gov




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants by First Class
Mail.


                                              /s/ Jessica P. Driscoll
                                              Jessica P. Driscoll
Dated: December 22, 2017                      Assistant United States Attorney




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